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 1         A.      ‫܈‬      Defendant has not carried his burden of establishing by clear
 2   and convincing evidence that Defendant will appear for further proceedings as
 3   required if released [18 U.S.C. § 3142(b-c)]. This finding is based on:
 4              ‫ ܈‬allegations in the petition include falsely responding to inquiries of the
 5              Probation Office, failing to report to the U.S. Probation and Pretrial
 6              Services Office as ordered by the Court, termination from residential
 7              drug treatment program and failure to complete that program due to
 8              violations of its rules and regulation, and failure to report to notify the
 9              Probation Officer of his location as directed.
10         B.      ‫܈‬      Defendant has not carried his burden of establishing by clear
11         and convincing evidence that Defendant will not endanger the safety of any
12         other person or the community if released [18 U.S.C. § 3142(b-c)]. This
13         finding is based on:
14              ‫ ܈‬Allegations in the petition include use of methamphetamine and
15              termination from residential drug treatment program
16              ‫ ܈‬Defendant has sustained a number of convictions, including for felony
17              second degree robbery, and was in Criminal History Category Six when
18              he was sentenced in the underlying case for felon in possession of a
19              firearm and ammunition.
20         IT IS THEREFORE ORDERED that the defendant is remanded to the
21   custody of the U.S. Marshal pending further proceedings in this matter.
22         Dated: October 14, 2020
                                                      PATRICIA DONAHUE
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                                                  PATRICIA DONAHUE
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                                              UNITED STATES MAGISTRATE JUDGE
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